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 9                              UNITED STATES DISTRICT COURT
10                             CENTRAL DISTRICT OF CALIFORNIA
11
12    WILLIAM KOCH, Individually and on          Case No.
      behalf of all others similarly situated,
13
14                               Plaintiff,      CLASS ACTION COMPLAINT
                                                 FOR VIOLATIONS OF THE
15
                          v.                     FEDERAL SECURITIES LAWS
16
17     YAYYO, INC., RAMY EL-
                                                 CLASS ACTION
       BATRAWI, JONATHAN ROSEN,
18     KEVIN F. PICKARD, JEFFREY J.
19     GUZY, CHRISTOPHER MIGLINO,                JURY TRIAL DEMANDED
       HARBANT S. SIDHU, and PAUL
20
       RICHTER,
21
22
                                 Defendants.

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 1          Plaintiff William Koch (“Plaintiff”), individually and on behalf of all other persons
 2
      similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against
 3
 4    Defendants (defined below), alleges the following based upon personal knowledge as to

 5    Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters, based
 6
      upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys, which
 7
 8    included, among other things, a review of the Defendants’ public documents,
 9
     announcements, United States (“U.S.”) Securities and Exchange Commission (“SEC”)
10
11
     filings, wire and press releases published by and regarding YayYo, Inc. (“YayYo” or the

12   “Company”), and information readily obtainable on the Internet. Plaintiff believes that
13
     substantial additional evidentiary support will exist for the allegations set forth herein after
14
15   a reasonable opportunity for discovery.
16
                                    NATURE OF THE ACTION
17
            1.     This is a class action on behalf of persons or entities who purchased or
18
19   otherwise acquired YayYo common stock pursuant and/or traceable to the registration
20
     statement and related prospectus (collectively, the “Registration Statement”) issued in
21
22   connection with YayYo’s November 13, 2019 initial public offering (the “IPO” or
23   “Offering”), seeking to recover compensable damages caused by Defendants’ violations
24
     of the Securities Act of 1933 (the “Securities Act”).
25
26          2.     In November 2019, Defendants held the IPO pursuant to the Registration
27
     Statement, issuing approximately 2,625,000 shares to the investing public at $4.00 per
28


                                          1
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 1
     share, for approximate proceeds to the Company of $9,660,000 after applicable

 2   underwriting discounts and commissions.
 3
           3.     By the commencement of this action, the Company’s common stock
 4
 5   continues to trade significantly below the IPO price. As a result, investors were damaged.
 6
                                 JURISDICTION AND VENUE
 7
           4.     The claims alleged herein arise under and pursuant to Sections 11 and 15 of
 8
 9   the Securities Act, 15 U.S.C. §§ 77k and 77o.
10
           5.     This Court has jurisdiction over the subject matter of this action pursuant to
11
12   28 U.S.C. § 1331 and Section 22 of the Securities Act (15 U.S.C. § 77v).
13         6.     This Court has jurisdiction over each defendant named herein because each
14
     defendant has sufficient minimum contacts with this District so as to render the exercise
15
16   of jurisdiction by this Court permissible under traditional notions of fair play and
17
     substantial justice. The Company is also headquartered in this District.
18
19         7.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section
20   22(a) of the Securities Act (15 U.S.C. § 77v(a)) as a significant portion of the Defendants’
21
     actions, and the subsequent damages took place within this District.
22
23         8.     In connection with the acts, conduct and other wrongs alleged in this
24
     complaint, Defendants, directly or indirectly, used the means and instrumentalities of
25
26   interstate commerce, including but not limited to, the U.S. mails, interstate telephone

27   communications and the facilities of a national securities exchange.            Defendants
28


                                         2
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 1
     disseminated the statements alleged to be false and misleading herein into this District,

 2   and Defendants solicited purchasers of YayYo securities in this District.
 3
                                             PARTIES
 4
 5          9.    Plaintiff purchased the Company’s common stock at artificially inflated
 6
      prices pursuant and/or traceable to the Registration Statement for the Company’s IPO, and
 7
      was damaged upon the revelation of the alleged corrective disclosures.
 8
 9          10.   Defendant YayYo is a Delaware corporation with its principal executive
10
      offices located at 433 N. Camden Drive, Suite 600, Beverly Hills, California 90210.
11
12    YayYo securities traded on the NASDAQ exchange from the IPO until February 20, 2020
13    under the ticker symbol “YAYO.” Following its delisting from the NASDAQ exchange,
14
      YayYo securities have traded on the OTC Pink market since February 20, 2020 under the
15
16    ticker symbol “YAYO.”
17
            11.   Defendant Ramy El-Batrawi (“El-Batrawi”) founded YayYo and served as
18
19    its Chief Executive Officer (“CEO”) from the inception of the Company until October 4,
20    2018, then as Acting CEO from November 17, 2018 to February 1, 2019, and as a member
21
      of the Company’s Board of Directors (the “Board”) between November 2016 and
22
23    September 2019. Due to his checkered past, at the insistence of the NASDAQ, Defendant
24
      El-Batrawi resigned all positions at YayYo in September 2019 so that the Company could
25
26    be taken public. On January 26, 2020, Defendant El-Batrawi purports to have been

27    reappointed CEO of YayYo and as a member of its Board.
28


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 1
             12.   Defendant Jonathan Rosen (“Rosen”) was at the time of the IPO YayYo’s

 2    CEO.
 3
             13.   Defendant Kevin F. Pickard (“Pickard”) was at the time of the IPO YayYo’s
 4
 5   Chief Financial Officer, Secretary, and a member of its Board.
 6
             14.   Defendant Jeffrey J. Guzy (“Guzy”) was at the time of the IPO a member of
 7
     the Company’s Board.
 8
 9           15.   Defendant Christopher Miglino (“Miglino”) was at the time of the IPO a
10
     member of the Company’s Board.
11
12           16.   Defendant Harbant S. Sidhu (“Sidhu”) was at the time of the IPO a member
13   of the Company’s Board.
14
             17.   Defendant Paul Richter (“Richter”) was at the time of the IPO a member of
15
16   the Company’s Board.
17
             18.   Defendants El-Batrawi, Rosen, Pickard, Guzy, Miglino, Sidhu, and Richter
18
19   are sometimes referred to herein as the “Individual Defendants.”
20           19.   Each of the Individual Defendants signed or authorized the signing of the
21
     Registration Statement, solicited the investing public to purchase securities issued
22
23   pursuant thereto, hired and assisted the underwriters, planned and contributed to the IPO
24
     and Registration Statement, and attended road shows and other promotions to meet with
25
26   and present favorable information to potential YayYo investors, all motivated by their own

27   and the Company’s financial interests.
28


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 1
            20.    YayYo and the Individual Defendants are referred to herein, collectively, as

 2   the “Defendants.”
 3
                                SUBSTANTIVE ALLEGATIONS
 4
 5                                          Background
 6
            21.    In June 2016, Defendant El-Batrawi incorporated YayYo in Delaware.
 7
            22.    YayYo purports to, through its subsidiaries, operate an online peer-to-peer
 8
 9    booking platform that rents standard passenger vehicles to self-employed ridesharing
10
      drivers and manages a fleet of standard passenger vehicles to be rented directly to drivers
11
12    in the ridesharing economy.
13          23.    Defendant El-Batrawi has a checkered past. On April 13, 2006, Defendant
14
      El-Batrawi was named, along with other officers, directors, and/or associates of Genesis
15
16    Intermedia, Inc., as defendants in an SEC enforcement action. In the SEC’s complaint
17
      filed in SEC v. El-Batrawi, et al., Case No. 2:06-cv-02247-CAS-VBK (C.D. Cal.), the
18
19    SEC charged Defendant El-Batrawi with violations of Section 17(a) of the Securities Act
20    and Section 10(b) and Rule 10b-5 of the Securities and Exchange Act of 1934, in
21
      connection with a stock loan and manipulation scheme. The SEC enforcement action
22
23    alleged, among other things, that the defendants had violated antifraud provisions of
24
      federal securities laws by orchestrating a scheme to manipulate the stock price of Genesis
25
26   Intermedia, Inc., a now-defunct public company that was also based in California. On

27   April 1, 2010, Defendant El-Batrawi settled the SEC enforcement action by entering into
28
     a final judgment by consent with the SEC. In connection with the settlement of the SEC
                                         5
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 1
     enforcement action charges, the U.S. District Court for the Central District of California

 2   entered a consent decree against Defendant El-Batrawi, which, among other things, barred
 3
     him from acting as an officer or director of a public company for a period of five years
 4
 5   following the date of entry of the final judgment by consent.
 6
            24.   As Defendants prepared to take YayYo public in the IPO, given Defendant
 7
      El-Batrawi’s history of securities law violations, the NASDAQ refused to permit a listing
 8
 9    of the Company’s shares unless Defendant El-Batrawi resigned from his positions and
10
      relinquished all authority and control over YayYo prior to the effective date of the IPO.
11
12    Defendant Rosen was hired by the Company in February 2019 and appointed as CEO in
13    October 2019.
14
                    YayYo’s False and/or Misleading Registration Statement
15
16          25.   On April 30, 2018, YayYo filed with the SEC a registration statement on
17
      Form S-1, which in combination with subsequent amendments on Forms S-1/A and filed
18
19    pursuant to Rule 424(b)(4), are collectively referred to herein as the Registration
20    Statement, which was issued in connection with the IPO.
21
            26.   On November 14, 2019, YayYo filed with the SEC the final prospectus for
22
23    the IPO of common stock on Form 424B4 (the “Prospectus”), which forms part of the
24
      Registration Statement. In the IPO, YayYo sold 2,625,000 shares of its common stock at
25
26    $4.00 per share, and purportedly the “[t]otal gross proceeds from the offering were

27    $10,500,000[.]”
28


                                          6
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 1
           27.    The Registration Statement was negligently prepared and, as a result,

 2   contained untrue statements of material facts or omitted to state other facts necessary to
 3
     make the statements made not misleading, and was not prepared in accordance with the
 4
 5   rules and regulations governing its preparation.
 6
           28.    The Registration Statement stated the following, in pertinent part, regarding
 7
     Defendant El-Batrawi’s role with the Company:
 8
 9         On October 4, 2018, Mr. El-Batrawi resigned as Chief Executive Officer.
10         He then was appointed Acting Chief Executive Officer on November 17,
           2018. On February 1, 2019, Mr. El-Batrawi resigned from his position as
11         Acting Chief Executive Officer of the Company upon the appointment of
12         Jonathan Rosen as Chief Executive Officer. Mr. El-Batrawi resigned as our
           director effective as of September 1, 2019.
13
14   (Emphases added.)
15
           29.    The Registration Statement claimed that Defendant Rosen was operating
16
17
     independently as CEO and stated, in pertinent part:

18         We depend on a small number of executive officers and other members of
19         management to work effectively as a team, to execute our business strategy
           and operating business segments, and to manage employees and consultants.
20         Our success will be dependent on the personal efforts of our Chief Executive
21         Officer, our directors and such other key personnel. Any of our officers or
           employees can terminate his or her employment relationship at any time, and
22
           the loss of the services of such individuals could have a material adverse effect
23         on our business and prospects. Mr. El-Batrawi, the founder and original
           Chairman of the Board and original Chief Executive Officer of the
24
           Company from its incorporation of the Company, resigned from all
25         positions with the Company as a condition for being approved for listing on
26         The Nasdaq Capital Market.

27    (Emphases added.)
28


                                        7
                    CLASS ACTION COMPLAINT FOR VIOLATIONS OF
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 1
            30.   The Registration Statement stated the following, in pertinent part, regarding

 2    the purported sale of Defendant El-Batrawi’s equity ownership:
 3
            As a condition to approving the Company’s common stock for listing on The
 4          Nasdaq Capital Market, X, LLC, an entity that is wholly-owned and
 5          controlled by Ramy El-Batrawi, our founder and former Chief Executive
            Officer and former director, agreed to sell 12,525,000 of its 15,425,000
 6
            shares of common stock. The 12,525,000 shares (the “Private Shares”) were
 7          sold pursuant to an exemption from registration to four existing Company
            shareholders who qualify as accredited investors (as that term is defined in
 8
            Securities Act Rule 501(a)). The Private Shares were sold at $3.00 per share
 9          in exchange for non-recourse, non-interest-bearing promissory notes with
10          maturities ranging from one year to eighteen months. As a result of the sale,
            X, LLC’s beneficial ownership shall be reduced to 9.9% of the shares
11          outstanding after the completion of this Offering. We will not receive any
12          proceeds from the sale of the Private Shares. If the offering contemplated by
            this registration statement is not consummated by January 31, 2020, the
13          parties have agreed to unwind the sale of the Private Shares transaction in
14          compliance with applicable law. Mr. El-Batrawi has also entered into a Voting
            Trust Agreement (the “Trust”) pursuant to which the voting power of all of
15
            his remaining 2,900,000 shares of common stock will be controlled by a
16          trustee who will use the voting power of the common stock held in the Trust
17
            to vote on all matters presented for a vote of stockholders in the same
            proportion that the shares of common stock not subject to the Trust voted on
18          such matters.
19
                                                 ***
20
21          Mr. El-Batrawi has entered into a Voting Trust Agreement (the “Trust”)
            pursuant to which the voting power of all of his outstanding common stock
22
            will be controlled by a trustee who will use the voting power of the common
23          stock held in the Trust to vote on all matters presented for a vote of
            stockholders in the same proportion that the shares of common stock not
24
            subject to the Trust voted on such matters. The Trust shall be irrevocable, and
25          shall terminate upon the earlier of (a) the written agreement of the Company,
26          the trustee and a duly authorized representative of Nasdaq, or (b) the date upon
            which the Company is not listed on a security exchange controlled by Nasdaq.
27
28                                               ***

                                         8
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 1
            Voting Trust

 2          Mr. El-Batrawi has entered into a Voting Trust Agreement pursuant to
 3          which the voting power of all of his outstanding common stock will be
            controlled by a trustee who will use the voting power of the common stock
 4          held in the Trust to vote on all matters, other than certain extraordinary
 5          matters, presented for a vote of stockholders in the same proportion that the
            shares of common stock not subject to the Trust voted on such matters. Mr.
 6
            El-Batrawi’s entrance into the Voting Trust Agreement is a condition for the
 7          Company’s approval for listing on The Nasdaq Capital Market.
 8
            The Trust shall be irrevocable, and shall terminate upon the earlier of (a) the
 9          written agreement of the Company, the trustee and a duly authorized
10          representative of Nasdaq, or (b) the date upon which the Company is not listed
            on a security exchange controlled by Nasdaq.
11
12          The trustee, initially one of our directors, Harbant S. Sidhu, shall have
            discretion to vote the Trust’s shares on all extraordinary matters which shall
13          include any merger, consolidation, business combination, share exchange,
14          restructuring, recapitalization or acquisition involving the Company or any
            similar transaction or the sale, lease, exchange, pledge, mortgage or
15
            transfer of all or a material portion of the Company’s assets.
16
17
                                                ***

18          To the best of our knowledge, except as otherwise indicated, each of the
19          persons named in the table has sole voting and investment power with
            respect to the shares of our common stock beneficially owned by such
20          person, except to the extent such power may be shared with a spouse. To our
21          knowledge, none of the shares listed below are held under a voting trust or
            similar agreement, except as noted. To our knowledge, there is no
22
            arrangement, including any pledge by any person of securities of the
23          Company, the operation of which may at a subsequent date result in a
            change in control of the Company.
24
25
26
27
28


                                         9
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 9
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12
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14
15
       (Emphases added.)
16
17           31.   The Registration Statement stated the following, in pertinent part, regarding
18
       “Use of Proceeds’” from the IPO:
19
20           We currently intend to use the net proceeds to us from this primary offering
             to purchase vehicles to add to our fleet of passenger vehicles made available
21           for rent through our wholly-owned subsidiary, Distinct Cars, and for general
22           corporate purposes, including working capital and sales and marketing
             activities.
23
24                                               ***
25
             The principal purposes of this primary offering are to increase our
26           capitalization and financial flexibility, increase our visibility in the
27           marketplace and create a public market for our common stock. As of the date
             of this prospectus, we cannot specify with certainty all of the particular uses
28           for the net proceeds to us from this primary offering. However, we currently

                                          10
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 1
             intend to use the net proceeds to us from this primary offering to add to our
             fleet of passenger vehicles made available for rent through the Company’s
 2           wholly-owned subsidiary, Distinct Cars, and for general corporate purposes,
 3           including working capital, sales and marketing activities. We may also use a
             portion of the net proceeds for the acquisition of, or investment in,
 4           technologies, solutions or businesses that complement our business, although
 5           we have no present commitments or agreements to enter into any acquisitions
             or investments.
 6
 7           32.      The Registration Statement stated the following, in pertinent part, regarding
 8
       Anthony Davis, its former President, CEO, and Director of YayYo:
 9
10                  Anthony Davis was the “Former President, Chief Executive Officer,
                     [and] Director[,]” having served in those capacities between 2017 and
11                   2018 and was paid $20,000 in salary;
12
                    “On December 1, 2016 . . . Mr. Davis . . . received nonqualified stock
13
                     options expiring on December 31, 2018, entitling [him] to purchase
14                   100.000 shares of Company common stock at an exercise price of $1.00
15
                     per share at any time on or after June 1, 2017”; and

16                  “On November 29, 2016, the Company and Mr. Davis, a former
17                   executive officer of the Company, entered into an offer of employment
                     agreement with the Company setting forth an initial base salary for Mr.
18                   Davis’s first three months of service and performance under his term of
19                   employment with the Company. As set forth under the employment
                     offer, Mr. Davis was entitled to receive (i) $15,000 for his service in
20
                     the month of December 2016, (ii) $10,000 for service performed during
21                   the month of January, 2017 and an additional $10,000 for service
22
                     performed by Mr. Davis during the month of February 2017.”

23           33.      The Registration Statement downplayed and underreported YayYo’s
24
       indebtedness to the social media company Social Reality, Inc., which changed its name to
25
26     “SRAX, Inc.” in August 2019 (“SRAX”). Specifically, the Registration Statement stated,
27
       in pertinent part, that “[d]uring the year ended December 31, 2018, the Company incurred
28


                                            11
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 1
       $334,471 for advertising and digital media services from Social Reality” and that “[a]t

 2     December 31, 2018, the Company had an amount due of $334,471 to Social Reality.” In
 3
       addition to failing to disclose the full amount owed to SRAX at the time of the IPO, the
 4
 5     Registration Statement failed to disclose that the debt was then overdue and that YayYo
 6
       had been delaying making the payment while it carried out its IPO.
 7
             34.   The statements contained in ¶¶ 28-33 were materially false and misleading
 8
 9     because the Registration Statement was negligently prepared and, as a result, contained
10
       untrue statements of material fact or omitted to state other facts necessary to make the
11
12     statements made not misleading and was not prepared in accordance with the rules and
13     regulations governing its preparation. Specifically, the Registration Statement was false
14
       and/or misleading and/or failed to disclose that: (i) Defendant El-Batrawi continued to
15
16     exercise supervision, authority, and control over YayYo, and was intimately involved, on
17
       a day-to-day basis, with the business, operations, and finances of the Company, including
18
19     assisting YayYo’s underwriters for the IPO in marketing the IPO; (ii) Defendant El-
20     Batrawi never sold the 12,525,000 “Private Shares” and continued to own a controlling
21
       interest in YayYo despite the NASDAQ’s insistence that he retain less than a 10% equity
22
23     ownership interest in connection with the listing agreement; (iii) Defendants promised
24
       certain creditors of YayYo that in exchange to their agreeing to purchase shares in the
25
26     IPO—to permit YayYo’s underwriters for the IPO to close the IPO—YayYo would

27     repurchase those shares after the IPO; (iv) Defendants intended to repurchase shares
28
       purchased by creditors of YayYo in the IPO using IPO proceeds; (v) YayYo owed its
                                          12
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 1
       former President, CEO, and Director a half of million dollars at the time of the IPO; (vi)

 2     YayYo owed SRAX $426,286 in unpaid social media costs, most of which was more than
 3
       a year overdue as payment had been delayed while YayYo attempted to complete its IPO;
 4
 5     and (vii) as a result, the Registration Statement was materially false and/or misleading and
 6
       failed to state information required to be stated therein.
 7
                                          The Truth Emerges
 8
 9           35.    On January 13, 2020, YayYo filed with the SEC a Form 8-K announcing that
10
       “[o]n January 10, 2020, YayYo Inc. [] entered into an Executive Employment Agreement
11
12     [] with the Company’s Chief Executive Officer, Jonathan Rosen, pursuant to which Mr.
13     Rosen will continue to serve as the Company’s Chief Executive Officer for one year or
14
       until terminated in accordance with the Agreement.”
15
16           36.    On January 24, 2020, YayYo filed an action for declaratory judgement and
17
       permanent injunction against Defendant El-Batrawi in the Superior Court of the State of
18
19     California, County of Los Angeles, Case No. 20STCP00309, alleging in pertinent part:
20           Despite leaving the Company following concerns from NASDAQ regarding
21           his involvement in the day-to-day operations of YayYo in September 2019,
             Defendant [El-Batrawi] has engaged in a continuous course of actions
22
             misrepresenting himself as affiliated with, speaking on behalf of, and
23           authorized or empowered by YayYo. In so doing, Defendant [El-Batrawi]
             has purported to bind the Company to contracts, direct its employees,
24
             change its website, and event to attempted to sell the Company to its
25           competitors.
26
       (Emphasis added.)
27
28


                                           13
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 1
             37.   In a declaration filed with YayYo’s complaint in support of a temporary

 2     restraining order, Defendant Rosen testified that despite having promised in September
 3
       2019 in connection with his resignation to have “no formal or informal affiliation
 4
 5     between the Company and [El-Batrawi], expect [sic] for [his] minority ownership (less
 6
       than 10%) in the Company” (emphasis in original), “[Defendant El-Batrawi] [had]
 7
       continue[d] to operate and hold himself out as if a director or officer of YayYo, or as an
 8
 9     otherwise authorized representative of the same.” Defendant Rosen further testified that
10
       despite the Registration Statement having expressly stated that Defendant El-Batrawi had
11
12     already sold the 12,525,000 shares of YayYo prior to the IPO, in reality “Defendant El-
13     Batrawi ha[d] failed and/or refused to sell his shares of stock in the Company . . . .”
14
       Defendant Rosen further admitted this had all been going on since September 2019, well
15
16     before the IPO, including testifying in pertinent part that “[s]ince [September 2019],
17
       Defendant El-Batrawi has engaged in a continuous and escalating pattern of behavior
18
19     destructive to YayYo . . . .” Defendant Rosen testified that Defendant El-Batrawi’s
20     misconduct between September 2019 and January 2020 had included, among other things,
21
       contacting competitors, suppliers, and vendors of YayYo and negotiating with them as a
22
23     representative of YayYo; meeting with financiers and investment firms about investing in
24
       YayYo and claiming to represent YayYo; hiring a public relations firm for YayYo and
25
26     producing and airing commercials for YayYo on the Fox Business Channel; attempting to

27     hire two marketing firms for YayYo; and directing that changes be made to YayYo’s
28
       website.
                                          14
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 1
             38.   On January 27, 2020, YayYo filed a Form 8-K with the SEC announcing that

 2     Defendants Guzy, Miglino, and Richter had been replaced as Board members and that
 3
       Defendant Rosen was no longer the CEO of YayYo. The 8-K stated in pertinent part:
 4
 5           By the written consent of the holders of more than a majority of the shares of
             YayYo, Inc. (the “Company”) then entitled to vote at an election of directors,
 6
             Messrs. Jeffrey J. Guzy, Christopher Miglino and Paul Richter were
 7           removed as directors of the Company, effective January 22, 2020. On
             January 24, 2020, the remaining directors of the Company elected Douglas
 8
             M. Mox, John P. O’Neill and Stephen M. Sanchez as directors to fill such
 9           vacancies, each to hold office until the earlier of the expiration of the term of
10           office of the director whom he has replaced, a successor is duly elected and
             qualified or the earlier of such director’s death, resignation, disqualification
11           or removal. Stephen M. Sanchez was elected as the Chairman of the Board of
12           Directors (the “Board”).
13                                                ***
14
             In addition to the above, on January 26, 2020, Jonathan Rosen resigned
15
             from his position as the Company’s Chief Executive Officer. Mr. Rosen
16           informed the Board that his resignation was for “Good Reason,” as that term
17
             is defined in Mr. Rosen’s employment agreement with the Company dated
             January 10, 2020. The Company disagrees with Mr. Rosen’s characterization
18           of the circumstances surrounding his resignation and does not believe that
19           “Good Reason” exists for Mr. Rosen’s resignation.
20     (Emphases added.)
21
             39.   On February 10, 2020, YayYo issued a press release entitled “YayYo, Inc.
22
23     Announces Intention to Voluntarily Delist Its Common Stock From the NASDAQ Capital
24
       Market Effective February 20, 2020” disclosing that the new Board would delist YayYo
25
26     common stock from the NASDAQ, stating:

27           BEVERLY HILLS, Calif., Feb. 10, 2020 (GLOBE NEWSWIRE) -- YayYo,
28           Inc. (NASDAQ: YAYO) (the “Company” or “YayYo”) today announced its
             intention to voluntarily delist its common stock from the NASDAQ Stock
                                          15
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 1
             Market (“NASDAQ”) effective on February 20, 2020. The Company expects
             that its common stock will be approved for quotation on the OTCQB from
 2           and after that date. The Company has elected to effect the voluntary delisting
 3           of its common stock after discussions with NASDAQ’s staff and based on the
             determination of the Company’s board of directors that voluntarily delisting
 4           the common stock from the NASDAQ is in the best interests of the Company
 5           and its stockholders. NASDAQ has advised the Company that it believes that
             the Company has failed the conditions for continued listing of its common
 6
             stock set forth in Listing Rule 5250(a). The voluntary delisting will permit
 7           the Company to operate its business free from restrictions imposed by
             NASDAQ rules and the conditions applicable to the listing of the
 8
             Company’s common stock on the NASDAQ.
 9
10           The Company has notified NASDAQ of its intent to voluntarily delist its
             common stock from the NASDAQ. The Company currently anticipates that it
11           will file with the Securities and Exchange Commission a Form 25 relating to
12           the delisting of its common stock on or about February 20, 2020 and expects
             the delisting of its common stock to be effective ten days thereafter. The
13           purpose of the Form 25 filing is to effect the voluntary delisting from the
14           NASDAQ of the Company’s outstanding common stock. The Company does
             not expect the delisting to have any adverse effects on its business operations.
15
16     (Emphases added.)
17
             40.    On February 11, 2020, SRAX filed a collection action against YayYo in the
18
19     Superior Court of the State of California for the County of Los Angeles, Case No.
20     20STCV05559, alleging that SRAX had provided media services to the Company dating
21
       back to 2018, and claiming breach of contract and related causes of action. SRAX alleged
22
23     that YayYo then owed it $645,286—including $426,286 for services rendered prior to
24
       time of the IPO. In its complaint, SRAX alleged that YayYo claimed to be “unable to
25
26     pay” for the services prior to the IPO “apparently due to a delay in its [IPO].” Though the

27     invoices for the services attached to the complaint filed by SRAX were signed by
28
       Defendant El-Batrawi, an email attached to the complaint dated January 24, 2020 from
                                          16
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 1
       Defendant Rosen stated that other than $50,000 that had apparently been paid to SRAX

 2     from the IPO proceeds on January 23, 2020, YayYo would be unable to pay the rest of the
 3
       outstanding bill until it obtained additional outside financing.
 4
 5           41.    On March 3, 2020, YayYo filed a with the SEC a Form 8-K announcing the
 6
       following:
 7
             On February 28, 2020, the Board of Directors (the “Board”) of YayYo Inc.
 8
             (the “Company”) appointed Ramy El-Batrawi as the Company’s Chief
 9           Executive Officer and as a member of the Board, effective immediately. Mr.
10           El-Batrawi has not been appointed to serve on any committees of the Board
             at this time and will receive no compensation in connection with his
11           appointment as Chief Executive Officer or his service on the Board.
12
             Mr. El-Batrawi, 58, is a founder of the Company and previously served as its
13           Chief Executive Officer from June 2016 until February 2019 and as a director
14           from June 2016 until September 2019. Mr. El-Batrawi is the founder and sole
             owner of PDQ Pickup LLC, a moving and logistics company, which he
15
             founded in December 2018. Since May 2015, he has been the owner of X,
16           LLC, a private investment firm. Prior thereto, Mr. El-Batrawi was the owner
17
             and chief executive officer of Growth Strategy Investments, LLC, a private
             investment firm.
18
19           There are no family relationships, as defined in Item 401 of Regulation S-K,
             between Mr. El-Batrawi and any of the Company’s executive officers or
20           directors or persons nominated or chosen to become a director or executive
21           officer. There is no arrangement or understanding between Mr. El-Batrawi
             and any other person pursuant to which Mr. El-Batrawi was appointed as
22
             Chief Executive Officer.
23
             During the year ended December 31, 2018, the Company paid management
24
             fees of $205,000, to a company that is owned by Mr. El-Batrawi. Beginning
25           on February 1, 2019, the Company entered into a consulting agreement with
26           Mr. El-Batrawi and paid $167,000 under the consulting agreement. The
             consulting agreement was terminated effective September 1, 2019.
27
28     (Emphases added.)

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 1
             42.   On March 3, 2020, former YayYo President, CEO, and Director Anthony

 2     Davis filed a complaint for damages, declaratory relief, failure to pay wages in violation
 3
       of labor code 201, et. seq., violation of California’s Unfair Competition Laws (Business
 4
 5     & Professions Code § 17200, et seq.), breach of contract, intentional misrepresentation
 6
       and fraud, and promissory fraud against YayYo, alleging in pertinent part:
 7
             Plaintiff Anthony Davis is an experienced, c-suite level executive that agreed
 8
             to join Yayyo [sic], a ridesharing startup company, as its CEO, for a salary
 9           well below his market rate in exchange for the written promise of stock
10           options made by Yayyo founder and then CEO Ramy El-Batrawi.

11           After only five (5) months of service and in accordance with his
12           responsibilities under an employment agreement, Plaintiff determined that
             Ramy El-Batrawi could not be trusted because he regularly ignored legal
13           counsel regarding SEC matters and flouted Board protocols and industry
14           norms for corporate compliance. Specifically, El-Batrawi filed fraudulent and
             materially misleading documents with the SEC that Yayyo continues to use
15
             to deny Plaintiff the compensation he is owed.
16
17
             Instead of remaining in an untenable position due to El-Batrawi’s illegal and
             fraudulent conduct, Plaintiff negotiated a separation written agreement
18           through a consulting agreement that described the agreed upon compensation
19           owed to Plaintiff, including specific language regarding payment from the
             stock options and other cash owed. To date, despite numerous good faith
20           attempts to be paid pursuant to the written agreements, Yayyo refuses to honor
21           its obligations thereunder.
22
                                                 ***
23
             Based on the written agreements, Yayyo and El-Batrawi caused damages to
24
             Davis in the amount of at least $454,086.39 for losses related to cash
25           compensation, expenses and the stock options value, plus attorney’s fees and
26           costs. Plaintiff also seeks injunctive relief requiring Yayyo to amend the SEC
             filings (Form S-1/A) so as to not mislead the public.
27
28     (Emphasis in original.)

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 1
             43.    On April 13, 2020, the Company filed with the SEC a Form 8-K announcing

 2     the following:
 3
             On April 2, 2020, X, LLC, a company wholly-owned and controlled by Ramy
 4           El-Batrawi, the Chief Executive Officer and a Director of YayYo, Inc. (the
 5           “Company”), loaned $50,000 to the Company, and on April 6, 2020, X, LLC,
             loaned an additional $100,000 to the Company. These loans were made
 6
             under an oral agreement, are secured by all of the assets of the Company and
 7           its subsidiaries, bear no interest, and are payable 30 days after the date of the
             loan. The Company will use the proceeds of these loans for general working
 8
             capital purposes.
 9
10     (Emphases added.)

11           44.    On April 28, 2020, FirstFire Global Opportunities Fund, LLC (“FirstFire”)
12
       filed a complaint against underwriters for the IPO in the U.S. District Court for the
13
14     Southern District of New York, Case No. l:20-cv-03327. Among other things, FirstFire
15
       alleges that the Registration Statement used to conduct the IPO was materially false and
16
17
       misleading because it concealed Defendant El-Batrawi’s ongoing control over the

18     company and its IPO process. FirstFire further alleges that when the underwriters for the
19
       IPO were unable to raise the full $10 million required by NASDAQ to close the IPO,
20
21     Defendant El-Batrawi fabricated a $1.2 million commitment purportedly from a trust,
22
       which turned out to be a lie. FirstFire also alleges that the underwriters for the IPO and
23
       Defendant El-Batrawi solicited creditors and shareholders to invest more money to close
24
25     the IPO, and “sought to sweeten the attraction of such further investment” by agreeing that
26
       YayYo would “immediately” pay them back from the IPO proceeds, an “unlawful act”
27
28     that would “materially misrepresent the Offering and fraudulently mislead investors[.]”

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 1
       FirstFire further alleges that the underwriters for the IPO told investors that YayYo

 2     planned to use the IPO proceeds to purchase vehicles, as well as for general corporate
 3
       purposes, including working capital and sales and marketing activities, but that in reality
 4
 5     YayYo had no intention to do so.
 6
             45.    Since the IPO, and as a result of the disclosure of material adverse facts
 7
       omitted from the Company’s Registration Statement, YayYo’s stock price has fallen
 8
 9     significantly below its IPO price, damaging Plaintiff and Class members.
10
             46.    As of the filing of this Complaint, YayYo’s stock last closed at $0.285 per
11
12     share on September 18, 2020, representing a 92.88% decline from the price the stock was
13     offered at in the IPO.
14
             47.    Additionally, because of the materially deficient Registration Statement,
15
16     Defendants have also violated their independent, affirmative duty to provide adequate
17
       disclosures about adverse conditions, risk, and uncertainties. Item 303 of SEC Reg. S-K,
18
19     17 C.F.R. § 229.303(a)(3)(ii) requires that the materials incorporated in a registration
20     statement disclose all “known trends or uncertainties” reasonably expected to have a
21
       material unfavorable impact on the Company’s operations.
22
23           48.    As a result of Defendants’ wrongful acts and omissions, and the precipitous
24
       decline in the market value of the Company’s securities, Plaintiff and other Class members
25
26     have suffered significant losses and damages.

27
28


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 1
                         PLAINTIFF’S CLASS ACTION ALLEGATIONS

 2           49.    Plaintiff brings this action as a class action on behalf of all those who
 3
       purchased or otherwise acquired the Company’s common stock pursuant and/or traceable
 4
 5
       to the Registration Statement (the “Class”). Excluded from the Class are Defendants and

 6     their families, the officers and directors and affiliates of Defendants, at all relevant times,
 7
       members of their immediate families and their legal representatives, heirs, successors or
 8
 9     assigns and any entity in which Defendants have or had a controlling interest.
10
             50.    The members of the Class are so numerous that joinder of all members is
11
       impracticable. While the exact number of Class members is unknown to Plaintiff at this
12
13     time and can only be ascertained through appropriate discovery, Plaintiff believes that
14
       there are at least thousands of members in the proposed Class. Record owners and other
15
16     members of the Class may be identified from records maintained by the Company or its
17     transfer agent and may be notified of the pendency of this action by mail, using the form
18
       of notice similar to that customarily used in securities class actions.
19
20           51.    Plaintiff’s claims are typical of the claims of the members of the Class, as all
21
       members of the Class are similarly affected by Defendants’ wrongful conduct in violation
22
23     of federal law that is complained of herein.
24           52.    Plaintiff will fairly and adequately protect the interests of the members of the
25
       Class and has retained counsel competent and experienced in class and securities litigation.
26
27
28


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 1
             53.    Common questions of law and fact exist as to all members of the Class and

 2     predominate over any questions solely affecting individual members of the Class. Among
 3
       the questions of law and fact common to the Class are:
 4
 5           (a)    whether Defendants violated the Securities Act;
 6
             (b)    whether the Registration Statement contained false or misleading statements
 7
       of material fact and omitted material information required to be stated therein; and
 8
 9           (c)    to what extent the members of the Class have sustained damages and the
10
       proper measure of damages.
11
12           54.    A class action is superior to all other available methods for the fair and
13     efficient adjudication of this controversy since joinder of all members is impracticable.
14
       Furthermore, as the damages suffered by individual Class members may be relatively
15
16     small, the expense and burden of individual litigation make it impossible for members of
17
       the Class to individually redress the wrongs done to them. There will be no difficulty in
18
19     the management of this action as a class action.
20                                             COUNT I
21
              (Violations of Section 11 of the Securities Act Against All Defendants)
22
             55.    Plaintiff incorporates all the foregoing by reference.
23
24           56.    This Count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C.
25
       § 77k, on behalf of the Class, against all Defendants.
26
27
28


                                          22
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 1
             57.     The Registration Statement contained untrue statements of material facts,

 2     omitted to state other facts necessary to make the statements made not misleading, and
 3
       omitted to state material facts required to be stated therein.
 4
 5           58.     Defendants are strictly liable to Plaintiff and the Class for the misstatements
 6
       and omissions.
 7
             59.     None of the Defendants named herein made a reasonable investigation or
 8
 9     possessed reasonable grounds for the belief that the statements contained in the
10
       Registration Statement were true and without omissions of any material facts and were not
11
12     misleading.
13           60.     By reason of the conduct herein alleged, each Defendant violated or
14
       controlled a person who violated Section 11 of the Securities Act.
15
16           61.     Plaintiff acquired the Company’s common stock pursuant to the Registration
17
       Statement.
18
19           62.     At the time of their purchases of YayYo common stock, Plaintiff and other
20     members of the Class were without knowledge of the facts concerning the wrongful
21
       conduct alleged herein and could not have reasonably discovered those facts prior to the
22
23     disclosures herein.
24
             63.     This claim is brought within one year after discovery of the untrue statements
25
26     and/or omissions in the Offering that should have been made and/or corrected through the

27     exercise of reasonable diligence, and within three years of the effective date of the
28
       Offering. This claim is therefore timely.
                                            23
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 1
                                               COUNT II

 2            (Violations of Section 15 of the Securities Act Against All Defendants)
 3           64.    Plaintiff incorporates all the foregoing by reference.
 4
             65.    This Count is brought pursuant to Section 15 of the Securities Act, 15 U.S.C.
 5
 6     § 77o against all Defendants.
 7
             66.    The Individual Defendants were controlling persons of YayYo by virtue of
 8
 9
       their positions as directors and/or senior officers of the Company.        The Individual

10     Defendants each had a series of direct and indirect business and personal relationships
11
       with other directors and officers and major shareholders of the Company. The Company
12
13     controlled the Individual Defendants and all of YayYo employees.
14
             67.    The Company and the Individual Defendants were culpable participants in
15
       the violations of Section 11 of the Securities Act as alleged above, based on their having
16
17     signed or authorized the signing of the Registration Statement and having otherwise
18
       participated in the process which allowed the IPO to be successfully completed.
19
20           68.    This claim is brought within one year after discovery of the untrue statements
21     and/or omissions in the Offering that should have been made and/or corrected through the
22
       exercise of reasonable diligence, and within three years of the effective date of the
23
24     Offering. This claim is therefore timely.
25
                                       PRAYER FOR RELIEF
26
27           WHEREFORE, Plaintiff, on behalf of Plaintiff and the Class, prays for judgment
28     and relief as follows:

                                           24
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 1
             A.     Declaring this action to be a proper class action, designating Plaintiff as Lead

 2     Plaintiff and certifying Plaintiff as Class representative under Rule 23 of the Federal Rules
 3
       of Civil Procedure and designating Plaintiff’s counsel as Lead Counsel;
 4
 5           B.     Awarding damages in favor of Plaintiff and the other Class members against
 6
       all Defendants, jointly and severally, together with interest thereon;
 7
             C.     Awarding Plaintiff and the Class reasonable costs and expenses incurred in
 8
 9     this action, including counsel fees and expert fees; and
10
             D.     Awarding Plaintiff and other members of the Class such other and further
11
12     relief as the Court may deem just and proper.
13                                   JURY TRIAL DEMANDED
14
             Plaintiff hereby demands a trial by jury.
15
16     Dated: September 18, 2020                     Respectfully submitted,
17
18                                                   POMERANTZ LLP
19                                                   /s/ Jennifer Pafiti
20                                                   Jennifer Pafiti (SBN 282790)
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25
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26                                                   Peretz Bronstein
27
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